Case 1:13-md-02419-RWZ Document 451-1 Filed 09/24/13 Page 1 of 6

EXHIBIT 1
Case 1:13-md-02419-RWZ Document 451-1 Filed 09/24/13 Page 2 of 6

David Fialkow

From: Fullenkamp, Joseph <Joseph.Fullenkamp@pbtlaw.com>
Sent: Wednesday, September 11, 2013 5:02 PM

To: Douglas D. Small; Seng, Laura

Ce: David Fialkow

Subject: RE: Regarding: NECC

Doug:

Thanks. That helped me understand, and shows our remaining disputes are limited.

We objected to protect our interest, and to make sure the objection was timely. But, as we prepared responses and
worked through issues, we realized that The South Bend Clinic had no responsive documents, because it did not buy

preservative free MPA equivalents from others. So we did not raise the objection in the final response. We meant to
withdraw that part of the initial objection. So this part should be moot.

So, our remaining issue is 2-fold: (1) Whether the PSC can expand the Request to include the other drugs without an
additional subpoena; and if it could, (2): whether a non-party should have to-produce documents regarding its
purchases of drugs that are not contaminated, which were purchased from non-parties to the MDL actions, which do
not involve the Plaintiffs in the MDL.

The South Bend Clinic did not buy cardioplegia from NECC. So this part is moot.

The South Bend Clinic never bought triamcinolone from NECC. And The South Bend Clinic never bought contaminated
betamethasone from NECC. The Clinic would have to review its entire medication purchasing history, identify the drugs
on those records, and determine if they are an equivalent to any of these.

The insurance dispute is also clear.

Thank you.

Joe Fullenkamp

From: Douglas D. Small [mailto:dsmall@foleyandsmall.com]
Sent: Wednesday, September 11, 2013 4:26 PM

To: Fullenkamp, Joseph; Seng, Laura

Subject: RE: Regarding: NECC

Joe,

Here is the excerpt from your letter. It just asks that the request be withdrawn.
Case 1:13-md-02419-RWZ Document 451-1 Filed 09/24/13 Page 3 of 6

Douglas D. Small, Esq,
July 8, 2013
Page 3

2. Amy aid all documents and/or ES! reflecting, andor related in any way
whatsaever to, ihe procurement of MPA, or its. generic or name-brand equivalent, from any
producer, compounding facility ar manufacturer other than NECP, since Oclober 6, 2007,
including without Hmitation of the foregoing, information reflecting dates of shipment and/or
receipt, quantities of shipment, lot numbers and other identifying labels, sizes of containers of
the product, the cost you paid for the product, applicable warranties, shelf life, expiration dates,
requirements and instructions for shipmerit and/or storage, and the apecific identity of the
preparation being purchased.

ORJECTION: The Request is overbroad and not reasonably calculated io lead to the
discovery of adrrissible evidence because it is not Hovited to the January 2011 — November 2012

MPA procured from Defendant New England Compounding Pharmacy, Inc. Information
regurding the costs paid for he MPA is also not reasonably calculated to lead to the discovery of
adatiasible eviderice.

Proposed Resolution: The South Bend Clmic docs not understand way MPA procured
by a nen-party from another non-party compounding facility is relevant to your clients’ lawsuits
against NECP, Please withdraw Request No. 2.

The PSC response to the subpoena objections, page 6, indicated the following:

Request 2 is limited to information relating to equivalents to MPA that the clinics

obtained from other compounders or manufacturers since January 1, 2012. Butitis clarified also

include the same information relating to equivalents the clinics obtained for Triamcinolorie,

Cardioplegia solution, and B etamethasone.

Perhaps the Clinic’s response to the document request meets the terms set forth above. If so, then there is no issue.

Case 1:13-md-02419-RWZ Document 451-1 Filed 09/24/13 Page 4 of 6

FOLEY ‘& SMALL

fF ABP S ETE

pe ASON Ak ix}

DOUGLAS D. SMALL

P(574) 288-7876 dsmallifeleyandemall.com
F.€5?4) 266-4939 1002 E. Jefferson Blvd.
(800) 276-2525 South Bend, indiana 46617

www. foleyandsmall. con

“Plymouth (674) 936- 9343 : Knox (SF 4) 7723 7638
LaPorte (219) 336-5888 = Nappanes (574) 773-7808
Rochester (574) 223-2066.

nail in error, slease call u
re of this e-mail is strictly pronibited.

From: Fullenkamp, Joseph [mailto:Joseph. Fullenkamp@btlaw.com]
Sent: Wednesday, September 11, 2013 4:18 PM

To: Douglas D, Small; Seng, Laura

Subject: RE: Regarding: NECC

Doug:

Thank you.

[am not sure | understand the issue on Req. No. 2. The Request relates to the procurement of preservative free MPA
equivalents from sources other than NECP. in our response, we said that we did not purchase preservative free MPA or
equivalents from other sources. The request doesn’t refer to other injectable purchases. Which other injectable
purchases do you mean?

Please hit “reply to all” so Laura gets this.

| apologize—I never had a chance to resend a copy of the letter to you. Do you still need it?

Thanks.

Joe Fullenkamp

P.S.--We’ve never passed our limit. We hit it once—or thought we did. We miscounted and were one short.

From: Douglas D. Small [mailto:dsmall@foleyandsmall.com]
Sent: Wednesday, September 11, 2013 3:44 PM

To: Fullenkamp, Joseph; Seng, Laura

Subject: Regarding: NECC

Joe & Laura,
Case 1:13-md-02419-RWZ Document 451-1 Filed 09/24/13 Page 5 of 6

Followed up with PSC counsel, but was only able to speak with a paralegal. | did confirm, as you may also know, that the
subpoena, discovery issues have been referred to the magistrate with the federal court in Boston for resolution.

In my review of our discussions and with the information | have obtained from the PSC, there appears to be only two
points of dispute. One being the insurance coverage information, which was request number seventeen, and the other
one | see, which we did not discuss, was the Clinic’s objection to request number two, relating to the production of
other injectable purchases. | see that the PSC is still requesting that information and that the Clinic

objected. Accordingly, | will need to follow the PSC lead as to that issue.

Would seem appropriate for you to direct your local counsel to do a filing with the court indicating that these two issues
remain outstanding for decision.

Call if you have questions. Remember the daily limit rules by your fishing up in Minnesota.

FOLEY @ SMALL

PRASONAL UNTU SY APRN bye

:
Gy
i

DOUGLAS D. SMALL

PSsTay 268-7576 dsmall@feleyandeniall.com
F (574) 288-4939 1002 €, Jefferson Blvd.
(B00) 276-2525, ‘South Bend, indiana 46617

www. foleyandsmall.com

--Flymouth (74) 936-9343 » Knox (574) 772-7636 .
LaPorte (21.93 336-8888 = Nappanee (274) 773-7808 i
Rochester (574) 223-2068

This o-mail is confid
expressly
for you, any re

sons) named abov
stall in @

CONFIDENTIALITY NOTICE: This email and any attachments are

for the exclusive and confidential use of the intended recipient. If
you are not the intended recipient, please do not read, distribute
or take action in reliance upon this message. If you have received
this in error, please notify us immediately by return email and
promptly delete this message and its attachments from your

computer system. We do not waive attorney-client or work product
privilege by the transmission of this message. TAX ADVICE

NOTICE: Tax advice, if any, contained in this e-mail does not
constitute a "reliance opinion" as defined in IRS Circular 230 and
May not be used to establish reasonable reliance on the opinion of
counsel for the purpose of avoiding the penalty imposed by Section
6662A of the Internal Revenue Code. The firm provides reliance
opinions only in formal opinion letters containing the signature of a
partner.

CONFIDENTIALITY NOTICE: This email and any attachments are

for the exclusive and confidential use of the intended recipient. If
you are not the intended recipient, please do not read, distribute
or take action in reliance upon this message. If you have received
this in error, please notify us immediately by return email and

4
Case 1:13-md-02419-RWZ Document 451-1 Filed 09/24/13 Page 6 of 6

promptly delete this message and its attachments from your
computer system. We do not waive attorney-client or work product
privilege by the transmission of this message. TAX .ADVICE

NOTICE: Tax advice, if any, contained in this e-mail does not
constitute a "reliance opinion" as defined in IRS Circular 230 and
may not be used to establish reasonable reliance on the opinion of
counsel for the purpose of avoiding the penalty imposed by Section
6662A of the Internal Revenue Code. The firm provides reliance

opinions only in formal opinion letters containing the signature of a
partner.
